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8                                UNITED STATES DISTRICT COURT
9                         FOR THE NORTHERN DISTRICT OF CALIFORNIA
10                                            OAKLAND DIVISION
11
      BRUCE HORTI, SANDRA GEORGE, and                  Case No. 4:21-cv-09812-PJH
12    JEANETTE CRAIG, individually and on
      behalf of all others similarly situated,
13                                                     PLAINTIFFS’ OPPOSITION TO
                                Plaintiffs,            DEFENDANT’S MOTION TO DISMISS
14                                                     THE THIRD AMENDED CLASS
                     v.                                ACTION COMPLAINT
15
      NESTLE HEALTHCARE NUTRITION,                     Date:       October 27, 2022
16    INC., a Delaware Corporation,                    Time:       1:30 p.m.
                                                       Location:   Court 3 – 3rd Floor
17                              Defendant.             Judge:      Hon. Phyllis J. Hamilton
18                                                     Date Action Filed: February 4, 2022
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                        THE SECOND AMENDED CLASS ACTION COMPLAINT
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1                          MEMORANDUM OF POINTS AND AUTHORITIES
2    I.      INTRODUCTION
3            Plaintiffs Bruce Horti, Sandra George, and Jeanette Craig (collectively, “Plaintiffs”),

4    respectfully submit this memorandum in opposition to Defendant Nestle Healthcare Nutrition, Inc.’s

5    (“Defendant” or “Nestle”) Motion to Dismiss Plaintiffs’ Third Amended Complaint (hereinafter the

6    “Motion”) (Dkt. No. 32).

7            Defendant sells the BOOST Glucose Control, and BOOST Glucose Control High Protein

8    products (collectively, the “Products”) in packaging that prominently display and advertise that the

9    Products “help manage blood sugar,” and are “designed for people with diabetes.” Third Amended

10   Complaint (Dkt. No. 29) (“TAC”), at ¶¶ 1-3, 35-39. These claims misled Plaintiffs and consumers

11   because they imply that the products control glucose, and therefore were understood by Plaintiffs to

12   mean that the products would have some affirmatively therapeutic impact on their blood glucose

13   levels, or otherwise mitigate, treat, or prevent diabetes or diabetes. Id., at ¶¶ 42-67. Defendant’s

14   motivation in doing so is transparent; by marketing their products as specifically “designed for

15   people with diabetes,” it can charge a demonstrable market premium for their products. Id., at ¶¶ 68-

16   74 (noting that Defendant charges more for their Boost Contract products than other competing

17   nutritional drinks). Accordingly, Defendant’s misrepresentations are not without injury.

18           In its Motion, Defendant grossly misinterprets the applicable regulations, and Plaintiffs’

19   allegations, in an attempt to legalize its conduct. As discussed below, the law is straight forward:

20   relevant federal and state law squarely prohibit Defendant from deceptively advertising its products

21   to have some affirmatively therapeutic impact on blood glucose levels, or to otherwise mitigate,

22   treat, or prevent prediabetes or diabetes. Additionally, Plaintiffs specifically plead that Defendant’s

23   “diabetes” misrepresentations are both deceptive and damaging to the putative Class. This is all that

24   is required at this stage of the litigation.

25           For these reasons, and others discussed below, Defendant’s Motion should be denied

26   entirely.

27   II.     STATEMENT OF ISSUES TO BE DECIDED
28           1.      Whether a “reasonable consumer” would believe that BOOST Glucose Control

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1    drinks can be used to control glucose levels to prevent, treat, or mitigate the negative effects of

2    diabetes.

3            2.      Whether Plaintiffs have Article III and statutory standing to sue Nestle.

4            3.      Whether Plaintiffs sufficiently allege that they were misled by Defendant’s

5    fraudulent representations of the BOOST Glucose Control drinks.

6            4.      Whether Plaintiffs sufficiently allege a claim for breach of express warranty.

7            5.      Whether Plaintiffs sufficiently allege their claims for equitable relief.

8    III.    SUMMARY OF FACTUAL ALLEGATIONS
9            Plaintiffs brought this class action individually and on behalf of California and New York

10   consumers who purchased BOOST Glucose Control, and BOOST Glucose Control High Protein

11   during the relevant time period (collectively, the “Classes”). TAC, at ¶¶ 79.

12           As noted above, the Products prominently advertise and warrant that the Products “help

13   manage blood sugar,” and are “designed for people with diabetes.” Id. at ¶¶ 1-3, 35-39. The Products

14   further state that they “Help[ ] manage blood sugar.” Id. at ¶¶ 35-39. Accordingly, when viewed in

15   their totality, Plaintiffs allege that the Products either explicitly or implicitly are claiming to prevent

16   disease and/or treat disease (namely, diabetes and pre-diabetes). Id. at ¶ 42. And given the nature of

17   the disease at issue and Defendant’s packaging, Plaintiffs understood that the Products would have

18   some affirmatively therapeutic impact on (i.e. control or manage) their blood glucose levels. Id. at

19   ¶¶ 76-77.

20           Plaintiffs' interpretation of the Products’ labels is not unreasonable, as the vast majority of

21   diabetics treat their diabetes with medications whose mechanism of action is what the Products

22   represent to do: control glucose levels. Id. at ¶¶ 17-26. As noted in the Third Amended Complaint:

23           a reasonable consumer, with diabetes or prediabetes, understands that products and
             treatments, other than insulin, can be used to control and maintain healthy glucose
24           levels, their principal concern. Accordingly, a product does not have to be an insulin
             replacement to be considered a treatment for diabetes or prediabetes. Reasonable
25           consumers also understand that for any given health condition there are common
             prescription treatments, and over-the-counter treatments. For example, consumers
26           know there are over-the-counter pain killers, and prescription pain killers as well,
             and the same holds true for gastrointestinal conditions, influenza and countless
27           other health issues.
28   Id. at ¶ 26. Indeed, even the name of the Products themselves, Boost Glucose Control, is a

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1    representation that it controls glucose. Id. at ¶ 35.1 This is likely why Defendant markets the Products

2    in the manner it does: “[w]ith the dramatic rise of diabetes and prediabetes, companies have tapped

3    into consumer anxieties about avoiding the risks of developing diabetes or prediabetes and treating

4    or mitigating its symptoms and progression.” Id. at ¶ 27.

5            Plaintiffs’ conclusion that the Products claim to actively control or manage glucose levels is

6    not an unreasonable allegation. In 2021, the Federal Trade Commission (“FTC”) and FDA sent

7    several cease-and-desist letters to companies suspected of advertising unproven treatments or cures

8    for diabetes. Id. at ¶ 61 citing https://www.ftc.gov/news-events/news/press-releases/2021/09/ftc-

9    sends-cease-desist-demands-10-companies-suspected-making-diabetes-treatment-claims-without

10   (last visited July 14, 2022). For example, the FTC and FDA noted that a product named, in part,

11   “DIABETES SUPPORT” combined with the statements “Diabetes is caused when the body either

12   resists insulin or does not produce enough; either of which can lead to unbalanced blood glucose

13   levels. Our diabetes support formula assists in keeping blood sugar at an optimum level. ..... Diabetes

14   Support helps to balance blood glucose levels” and “May help balance Blood Sugar Levels” was

15   sufficient to make a disease claim. Id., citing https://www.ftc.gov/system/files/warning-

16   letters/warning-letter-ar-rahmah_pharm_llc.pdf (last visited July 14, 2022). A similar result should

17   follow here. Id. at ¶ 57.

18           Additionally, any representation that the Products control or manage glucose levels is

19   patently false. Id. at ¶¶ 50-59. As alleged by Plaintiffs in their Complaint, Defendant’s

20   representations are reasonably understood by consumers, and were understood by Plaintiffs, to mean

21   that the Products would have some affirmatively therapeutic impact on their blood glucose levels,

22   or otherwise mitigate, treat, or prevent prediabetes or diabetes. See id. at ¶ 57. But Defendant’s own

23   clinical trial concluded that the Products were only associated with a lesser rise in glucose levels as

24   compared to one other unidentified nutritional drink and this is only because Boost Glucose Control

25   drinks have less sugar. Id. at ¶¶ 50-56. This is not what a reasonable consumer would understand

26   from Defendant’s representations, and this is not what Plaintiffs understood. Id. at ¶¶ 57-59.

27       1
           It is also worth noting that Defendant places its Products next to or with blood glucose
28   monitoring systems both in stores and online. See TAC at ¶¶ 45-48. This only increases the
     likelihood that consumers would understand that Defendant’s Products control or manage blood
     glucose levels. Id.
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1           Plaintiffs alleged that they specifically purchased the Products based on the Products’

2    diabetes-related representations, including the representations that it controls and manages glucose

3    levels. Id. at ¶¶ 76-77. Accordingly, they relied on Defendant’s misrepresentations and were injured

4    as a result. Indeed, Plaintiffs specifically allege that Defendant’s “Boost Glucose Control” Products

5    are sold at a sizable premium when compared to other nutritional drinks. Id. at ¶¶ 70-75. For

6    example, on Nestle’s own site, a six-pack of the Nestle BOOST Original costs $7.95, while the

7    BOOST Glucose Control six-pack sells for $9.49, a premium of 19.3 percent. Id. at ¶ 73. Plaintiffs

8    further provided a list of the pricing of five of Defendant’s competitors, to show that Defendant

9    charges a premium for the Products. Id. at ¶ 74.

10   IV.    ARGUMENT
11          A.      Legal Standard
12          Under Rule 12(b)(6), when a defendant seeks to dismiss a complaint for failure to state a

13   claim upon which relief can be granted, a court must accept all allegations of material fact in the

14   complaint as true and construe them in the light most favorable to the plaintiff. Cahill v. Liberty Mut.

15   Ins. Co., 80 F.3d 336, 337-38 (9th Cir. 1996). A complaint will survive a Rule 12(b)(6) motion so

16   long as it articulates “enough facts to state a claim to relief that is plausible on its face.” Bell Atl.

17   Corp. v. Twombly, 550 U.S. 544, 570 (2007). “A claim has facial plausibility when the plaintiff

18   pleads factual content that allows the court to draw the reasonable inference that the defendant is

19   liable for the misconduct alleged.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009).

20          The heightened pleading standards under Rule 9(b) require only that the circumstances

21   constituting the alleged fraud “be ‘specific enough to give defendants notice of the particular

22   misconduct … so that they can defend against the charge and not just deny that they have done

23   anything wrong.’” Bly-Magee v. California, 236 F. 3d 1014, 1019 (9th Cir. 2001) (quoting

24   Neubronner v. Milken, 6 F.3d 666, 671 (9th Cir. 1993)). Consequently, Rule 9(b) only requires that

25   defendants receive “adequate notice” to show that the complaint is not “a pretext for the discovery

26   of unknown wrongs.” In re Stac Electronics Sec. Litig., 89 F.3d 1399, 1405 (9th Cir. 1996)).

27          B.      A Reasonable Consumer Would Believe the Products Can Prevent or Treat
                    Diabetes.
28
            In its Order Granting Defendant’s Motion to Dismiss this Court held “Plaintiffs fail to
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1    establish that persons with diabetes, as the targeted consumers of the Boost Glucose Control

2    products, would mistake the representations for promises of treatment or even replacements for the

3    insulin so many are prescribed.” Dkt. No. 15 at p. 13. Put differently, the Court held that “these

4    statements would not lead a reasonable consumer to believe that the Boost nutritional drinks would

5    treat this chronic disease” and the “product labels simply do not… represent that Boost Glucose

6    Control will on its own treat diabetes or maintain healthy glucose levels.” Order on Motion to

7    Dismiss Second Amended Complaint, Dkt. No. 27 at pp. 12-13. Defendant seized on this portion of

8    the Order in the Motion, to contend that no reasonable consumer would understand that “BOOST

9    Glucose Control” means that the product would control or manage “Glucose.” Motion at pp. 3-7.

10   Plaintiffs would disagree.

11          Plaintiffs did not believe the Products were low sugar nutritional shakes, rather Plaintiff

12   Bruce Horti had been diagnosed with prediabetes and was interested in reducing his risk of

13   developing diabetes and ameliorating his prediabetes when he purchased the Boost Glucose Control

14   Rich Chocolate and Very Vanilla flavors. TAC at ¶ 76. He does not take medication for his

15   prediabetes. Id. He purchased the products because he believed they would have a beneficial effect

16   on his prediabetes and prevent diabetes. Id. Plaintiff Horti did not believe the touted diabetes

17   benefits were simply a result of low sugar content. Id. In addition, Plaintiff Sandra George has

18   diabetes and takes two prescription medications for it. Id. ¶ 77. Plaintiff George bought Boost

19   Glucose Control-High Protein because she believed the Products would have a beneficial effect on

20   her diabetes by controlling her glucose levels. Id. Although Ms. George did not believe the Products

21   would outright replace her prescription diabetes medications, she believed since the Products were

22   advertised for diabetics and would control blood sugar that it would provide a beneficial effect on

23   her diabetes by controlling her glucose. Id. Ms. George used to purchase low-sugar and sugar-free

24   protein drinks, but when she noticed the specific diabetes representations and purported glucose

25   control benefits on the Products, she stopped buying the other protein drinks altogether because they

26   did not represent anything about being for diabetics specifically. Id.

27          Plaintiffs sufficiently allege they believed the Products would treat their prediabetes and

28   diabetes. Mr. Horti alleged he purchased the Products as a pre-diabetic looking to consume a product

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1    that would prevent his pre-diabetes from worsening and prevent him from being diagnosed with

2    diabetes. TAC ¶ 76. Further, Ms. George alleged she purchased the Products because she wanted a

3    product with protein that would treat her diabetes by lowering her blood sugar level in combination

4    with her diabetes medication. Id. ¶ 77. Ms. George even stopped purchasing other protein products

5    that were also low sugar because they did not claim to “control glucose,” “manage blood sugar” or

6    be “designed for people with diabetes.” Id. Therefore, Plaintiffs have clearly established that they

7    are “persons with diabetes,” and “as the targeted consumers of the Boost Glucose Control products,

8    would mistake the representations for promises of treatment… .” Dkt. No. 15 at 13.

9              In their TAC, Plaintiffs alleged several allegations to show that consumers, like Plaintiffs,

10   would mistakenly believe the representations on the Products meant that they could actively control

11   glucose or blood sugar levels. First, as a matter of semantics there is nothing that suggests that

12   consumers would not understand Defendant's “Glucose Control” and “helps manage blood sugar”

13   representations literally. TAC, at ¶¶ 50-52. Second, as the Court noted, “[t]he context of plaintiffs’

14   purchase” is important. Order on Motion to Dismiss, Dkt. No. 15 at 14. Plaintiffs also allege that

15   reasonable consumers would not understand that the products were simply “low sugar” drinks, given

16   that other “diet” products are not branded as “Glucose Control” or advertised to “help[ ] manage

17   blood sugar.” TAC, at ¶ 59. Nor are they labeled and marketed specifically to diabetics. Ibid. As the

18   operative Complaint notes, Diet Coke is not advertised as “diabetic glucose control Coke,” and there

19   is no “Pepsi Diabetes.” Ibid. Plaintiffs further alleged the Products were not sold on grocery aisles

20   next to bread and cereal, but rather they were sold with other diabetes medicines and supplies, both

21   in store and online. Id., at ¶¶ 46 Further on the CVS website, the Products are sold under the

22   following tabs: Home>Shop>Home Health Care>Diabetes Care>Nutrition & Food), 47 (the

23   Products on the same aisles that sells blood glucose monitoring systems).2 Therefore, Plaintiffs, like

24   many other consumers, were reasonable in concluding the Products could help control blood sugar

25   levels.

26
         2
          Plaintiffs have alleged Nestle had a hand in where the Products were placed in a grocery store
27   and/or online because diabetes is a permanent disease and Defendant knows this. Compare TAC, at
     ¶ 45 with Motion at p. 6 (“Plaintiffs do not explain how a third-party retailer’s independent decisions
28   on placement of the BOOST drinks on a ‘food’ shelf, or in an aisle that is adjacent to over-the-
     counter medication is deceptive.”)
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1           It is important to note that Plaintiffs do not claim that the Products will cure diabetes or were

2    a replacement for insulin. See generally TAC. Defendant contends that “[a] truthful label on a

3    nutritional shake sold in a grocery store is no basis for a claim that reasonable people would be

4    misled into thinking they were buying a novel diabetes treatment.” Motion at pp. 5-6. However,

5    there is nothing novel or truthful about Defendant’s misrepresentations.

6           Plaintiffs assert that the Products do not perform as advertised: they do nothing to “control”

7    blood glucose levels or “manage” blood sugar levels. Id. While diabetes is a chronic illness that

8    requires a person to monitor their blood sugar because their bodies do not produce insulin, the

9    operative Complaint notes that “a reasonable consumer, with diabetes or prediabetes, understands

10   that products and treatments, other than insulin, can be used to control and maintain healthy glucose

11   levels, their principal concern.”     TAC, at ¶¶ 21-26. Indeed, a google search for “diabetes

12   supplements” will show that the market is replete with numerous products that claim to help maintain

13   or control glucose levels. Accordingly, a reasonable consumer would understand that the Products

14   are making similar marketing claims. Moreover, Plaintiffs strongly contest the representations on

15   the Products and allege the Products’ representations are misleading. “According to the study, the

16   DS-ONS (Products) caused blood glucose levels to go up.” TAC at ¶ 54. “Nestle BOOST does not

17   control glucose in a way that such claim is reasonably understood, it simply provokes a less bad

18   glucose response than some other, unidentified product.” Id. These allegations are clearly contesting

19   whether the representations of “control glucose”, “manage blood sugar” or “is designed for people

20   with diabetes” are accurate representations. Therefore, Plaintiffs have contested the accuracy of

21   Products’ labels and have alleged they are misleading.

22          Defendant cites a few cases in support of the proposition that no reasonable consumer

23   would be deceived by the labels in question. See Weiss v. Trader Joe’s, 838 F. App’x 302 (9th Cir.

24   2021); Hodges v. King’s Hawaiian Bakery W., Inc., 2021 WL 5178826 (N.D. Cal. Nov. 8, 2021);

25   Prescott v. Nestlé USA, Inc., 2022 WL 1062050 (N.D. Cal. Apr. 8, 2022). These cases are

26   inapposite for varying reasons.

27          In Weiss the Ninth Circuit examined “the context of the water bottle packaging as a whole”

28   and concluded that “ionized” and other representations referred to the water itself but not the internal

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1    impact the water would have on one’s body while consuming it. Here, Defendant’s Products refer

2    expressly to internal bodily impact and a disease: “helps manage blood sugar” and “designed for

3    people with diabetes.” TAC, at ¶¶ 35-38. The Products specifically state they are designed to help a

4    purchaser with controlling the one ingredient that causes diabetes, glucose. Diabetes is a disease,

5    and a representation that something is designed specifically for people with a disease can only be

6    interpreted to mean that it either prevents the disease, or, if one already has it, mitigates the

7    symptoms, or otherwise treats it; therefore, Weiss is inapplicable.

8           In Hodges, the plaintiffs alleged “EST 1950 HILO, HAWAII” inside a three-point crown

9    evocative of a pineapples crown on the front of the product’s packaging conveyed the products at

10   issue were made in Hawaii. No. 21-CV-04541-PJH, 2021 WL 5178826, at *1. However, the

11   plaintiffs acknowledged neither the brand name nor the product name convey a message about the

12   product’s origin. Id. Further, the plaintiffs conceded that other Hawaiian-themed trade dress on the

13   product’s label did not convey a product-origin claim either. Id. Here, Plaintiffs have not conceded

14   any of the facts that were conceded in Hodges. Plaintiffs expressly alleged the Product’s name,

15   “BOOST GLUCOSE CONTROL” is misleading. TAC ¶ 35. Further, Plaintiffs have alleged every

16   diabetes representation on the Products is misleading and conveys the Product is intended to be

17   marketed to diabetics and prediabetic consumers, such as Plaintiffs. Id. at ¶¶ 5, 155 (“Defendant’s

18   representations are reasonably understood by consumers, and were understood by Plaintiffs, to mean

19   that the Products would have some affirmatively therapeutic impact on their blood glucose levels,

20   or otherwise mitigate, treat, or prevent prediabetes or diabetes”).

21          In Prescott, the plaintiff could not be misled because “[n]othing about the ordinary and

22   common meanings of the adjectives ‘white’ and “premier” would suggest to a reasonable consumer

23   that the Product is white chocolate.” No. 19-CV-07471-BLF, 2022 WL 1062050, at *4. “Similarly,

24   images of a cookie and white morsels do not provide any information as to the substance of the

25   morsels.” Id. Here, Defendant makes several unequivocal representations the Products are intended

26   to be used by prediabetics or diabetics to control their glucose by stating they “control glucose”,

27   “manage blood sugar” and are “designed for people with diabetes”. The ordinary and common

28   meanings of those phrases indicate a consumer would believe the Products are designed for

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1    purchasers with prediabetes or diabetes and that such Products can treat those conditions and is

2    entirely different than the vague representations in Prescott.

3           C.      Plaintiffs Have Adequately Alleged Standing Under a Price-Premium Theory.
4           Despite Defendant’s arguments to the contrary, the operative Complaint adequately alleges

5    an injury based on the price premium theory of recovery. In the Third Amended Complaint,

6    Plaintiffs allege that Mr. Horti is prediabetic while Ms. George is diabetic. TAC at ¶¶ 76-77.

7    Plaintiffs allege the Products were more expensive than the other choices they viewed and paid a

8    premium price based on the Products’ diabetes-related representations. Id. Plaintiffs allege they

9    would not have purchased the Products had they known the Products did not “control glucose,”or

10   “manage blood sugar.” Id. Furthermore, Plaintiffs used Defendant’s own pricing, and the pricing of

11   competitors, to show that there is a plausible price premium associated with the products. Id., at ¶¶

12   72-77. This is sufficient to confer Article III and statutory standing. See Brazil v. Dole Food Co.,

13   935 F.Supp.2d 947, 962 (N.D. Cal. 2013); Manchouck v. Mondelez Int'l Inc., No. 13–2148, 2013

14   WL 5400285, at *2 (N.D. Cal. Sept. 26, 2013); Jones v. ConAgra Foods, Inc., 912 F.Supp.2d 889,

15   901 (N.D. Cal. 2012); Arora v. GNC Holdings, Inc., No. 19-CV-02414-LB, 2019 WL 6050750 at

16   *20-21 (N.D. Cal. Nov. 15, 2019).

17          Defendant contends Plaintiffs have not identified a premium they purportedly paid for Boost

18   Drinks and that their fraud claims should be dismissed. Motion at p. 8. However, as Defendant

19   correctly points out in its brief, the BOOST Glucose Control products sold by Defendant are sold at

20   a 19.3 % premium than its other BOOST Nutritional drinks that do not allege to control glucose. Id.

21   Plaintiffs specifically allege although the Products were more expensive than other choices they

22   viewed, they chose to pay the premium price based upon the Products’ diabetes-related

23   representations, including the representations that it controls and manages glucose levels. TAC at

24   ¶¶ 76-77. Nothing more is required of Plaintiffs at this stage.

25          Defendant’s heavy reliance on Naimi v. Starbucks Corp., 798 F. App'x 67 (9th Cir. 2019)

26   and Izquierdo v. Mondelez International Inc., 2016 WL 6459832 (S.D.N.Y. Oct. 26, 2016) is

27   understandable but overstated. First, all the courts within the Ninth Circuit have declined to apply

28   Naimi for the proposition that Defendant advances. For example, in Kirchenberg v. Ainsworth, Pet

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1    Nutrition, Inc., No. 220CV00690KJMDMC, 2022 WL 172315 (E.D. Cal. Jan. 19, 2022), the

2    defendant cited Naimi to argue the plaintiffs had alleged a “bare recitation” of a “price premium”

3    without indicating how much plaintiffs “paid for the [product], how much they would have

4    paid…absent the alleged deception…, or any other details” was insufficient for standing. Id., at *3.

5    The court rejected the defendant’s reliance on Naimi and refused to dismiss the plaintiffs’ complaint

6    for lack of standing given she argued “she would not have spent money on defendants’ products but

7    for defendants’ misrepresentations.” Id. Other courts in the Ninth Circuit have also declined to

8    follow Naimi, Collela and other cases advanced by Defendant. See, Colella v. Atkins Nutritionals,

9    Inc., 348 F. Supp. 3d 120, 143 (E.D.N.Y. 2018); but see Ruiz v. Celsius Holdings, Inc., No.

10   321CV00128GPCKSC, 2021 WL 5811264 (S.D. Cal. July 28, 2021) (“Following the district court

11   in Greene, 262 F. Supp. 3d at 69, the Court declines to dismiss the GBL claims on the ground that

12   Plaintiffs have not alleged a precisely comparable product to demonstrate the amount of the price

13   premium, as whether Plaintiffs can indeed show that they paid a price premium is a question of fact

14   not properly determined at the pleading stage.”); Cohen v. Ainsworth Pet Nutrition, LLC, No. 2:20-

15   CV-05289-MCS-AS, 2020 WL 7250329 (C.D. Cal. Oct. 26, 2020).

16          In Izquierdo, the court dismissed the plaintiffs’ fraud claims finding that just “because

17   [p]laintiffs [] recite[d] the word ‘premium’ multiple times in their Complaint does not make

18   [p]laintiffs' injury any more cognizable” and that “[p]laintiffs ha[d] not alleged that they paid

19   a higher price for the [products] than they otherwise would have, absent deceptive acts.” No. 16-

20   CV-04697 (CM), 2016 WL 6459832, at *7. . Here, Plaintiffs have alleged they paid a higher price

21   for the Products than they otherwise would have absent the false misrepresentations made by

22   Defendant, hence, Izquierdo is clearly distinguishable. TAC at ¶¶ 76-77.

23          Therefore, Plaintiffs have sufficiently alleged a premium price injury and Defendant’s

24   motion should be dismissed on this basis.

25          D.      Plaintiffs Have Pled Their Claims with Sufficient Particularity
26          Defendant argues that Plaintiffs’ claims fail to meet the heightened pleading standards of

27   Rule 9(b) for two reasons: (1) Plaintiffs “never identify which of [Defendant’s deceptive statements]

28   they actually relied upon”, and (2) Plaintiffs “don’t point to any actual text on the BOOST labels

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1    that they relied upon in reaching the conclusion that the drinks purport to treat diabetes.” Motion at

2    p. 10. Defendant is wrong on both points.

3           To satisfy Rule 9(b)’s heightened standard, the allegations need only be “specific enough to

4    give defendants notice of the particular misconduct which is alleged to constitute the fraud charged

5    so that they can defend against the charge and not just deny that they have done anything wrong.”

6    Semegen v. Weidner, 780 F.2d 727, 731 (9th Cir. 1985). Claims sounding in fraud must allege “an

7    account of the time, place, and specific content of the false representations as well as the identities

8    of the parties to the misrepresentations.” Swartz v. KPMG LLP, 476 F.3d 756, 764 (9th Cir. 2007)

9    (per curiam) (internal quotation marks omitted). Here, Plaintiffs’ allegations are more than specific

10   enough to (1) identify the deceptive statements Plaintiffs relied upon, and (2) what text Plaintiffs

11   relied upon “in reaching the conclusion that the drinks purport to treat diabetes.”

12          Plaintiffs laid out in detail which of Defendant’s representations were deceptive and made

13   clear Plaintiffs relied on those statements. See TAC ¶¶ 5 (“Defendant’s express representations that

14   the Products control glucose and are designed for diabetics are deceptive. Defendant’s

15   representations are reasonably understood by consumers, and were understood by Plaintiffs, to mean

16   that the Products would have some affirmatively therapeutic impact on their blood glucose levels,

17   or otherwise mitigate, treat, or prevent prediabetes or diabetes”); 35 (detailing the misrepresentations

18   made “on bottles themselves and on the packaging of the multi-packed bottles”); 36 (showing

19   Defendant’s packaging with the misrepresentations displayed prominently). The Complaint lays out

20   exactly which Product or Products each Plaintiff purchased. TAC ¶¶ 76 (“Mr. Horti purchased the

21   Boost Glucose Control Rich Chocolate and Very Vanilla”); 77 (“Ms. George purchased the Boost

22   Glucose Control-High Protein”); id. (“Ms. Craig purchased the Boost Glucose Control Product”).

23   The Complaint further makes clear that each Plaintiff “relied on Nestle’s diabetes-related factual

24   representations on the Products’ label” and more specifically the “controls and manages glucose

25   levels” claims. Id. ¶¶ 76-77 (“[Plaintiff] chose to pay the premium price based upon the Products’

26   diabetes-related representations (as identified above), including the representations that it controls

27   and manages glucose levels.”).

28          Thus, the Complaint alleges that each Plaintiff relied on specific misrepresentations present

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1    on the packaging of each Product or Products that Plaintiff purchased. This is more than sufficient

2    to “give [Defendant] notice,” Semegen, 780 F.2d 731, of the misrepresentations at issue. Nor is there

3    any uncertainty in the misrepresentations which led Plaintiffs to believe the Products could treat

4    diabetes. As detailed in the Complaint, the Products’ branding as “BOOST Glucose Control” and

5    Defendant’s representations that the Products are “designed for people with diabetes” and that the

6    Products “help[] manage blood sugar” taken together lead reasonable consumers to believe the

7    Products treat diabetes. TAC ¶ 35; see also id. ¶ 61 (describing action taken by federal regulators

8    for similarly misleading claims regarding the treatment of diabetes); see also Fernandez v. Atkins

9    Nutritionals, Inc., 2018 WL 280028, at *12 (S.D. Cal. Jan. 3, 2018) (allegations were sufficient

10   under Rule 9(b) because the defendant knew “what statements are at issue, why they are allegedly

11   misleading, and how it affected [plaintiff],” and that further detail regarding the plaintiff’s purchases

12   “serves no end towards ensuring that [defendant] receives adequate notice and is protected from the

13   burdens of baseless litigation.”).

14          Defendant relies on four cases where “plaintiffs identify a range of statements that are

15   allegedly misleading but fail to specify which statements any of them saw or relied on” which were

16   subsequently dismissed. Each of these cases in inapposite because Plaintiffs here did specify which

17   representations they relied upon—namely, the misrepresentations present on the labeling of the

18   specific Products they purchased. Compare TAC ¶¶ 76, 77 (alleging each Plaintiff relied on the

19   representations present on the labeling for their respective Products); with In re Arris Cable Modem

20   Consumer Litig., 17-CV-01834-LHK, 2018 WL 288085, at *8–9 (N.D. Cal. Jan. 4, 2018) (alleging

21   misleading statements in the defendant’s advertising and on various website and not specifying

22   which plaintiff relied on); Haskins v. Symantec Corp., 654 F. App’x 338, 339 (9th Cir. 2016)

23   (affirming dismissal where plaintiff did not even argue she alleged reliance on specific

24   representations); Edenborough v. ADT, LLC, 16-CV-6160174, 2016 WL 6160174, at *4 (N.D. Cal.

25   Oct. 24, 2016) (granting dismissal in part where plaintiffs failed to allege they visited the website

26   where the alleged misrepresentations were made); Brown v. Madison Reed, Inc., 21-CV-01233-

27   WHO, 2021 WL 3861457, at *10 (N.D. Cal. Aug. 30, 2021) (granting dismissal where the

28   misrepresentations at issue were made during different marketing campaigns at different times and

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1    the plaintiffs did not allege which representations they relied on).

2           E.       Plaintiffs Can Seek Equitable Relief
3           Defendant next argues that Plaintiffs cannot seek restitution or injunctive relief because

4    “Plaintiffs have an adequate remedy at law.” Motion at p. 10. Plaintiffs acknowledge that restitution

5    is not available for their claims under Sonner v. Premier Nutrition Corp., 971 F.3d 834, 844 (9th

6    Cir. 2020) and concede their claims for restitution.

7           Regarding injunctive relief, however, Defendant is simply wrong to assert that Plaintiffs have

8    an adequate remedy at law. This is because without injunctive relief Plaintiffs lack an adequate

9    remedy for future harm. It is axiomatic that a plaintiff facing “an actual and imminent threat of

10   future injury” is entitled to injunctive relief. Davidson v. Kimberly-Clark Corp., 873 F.3d 1103,

11   1114 (9th Cir. 2017). The question of whether such risk of future injury exists in cases with

12   previously deceived consumers was settled in this Circuit:

13          Today, we resolve this district court split in favor of plaintiffs seeking injunctive
            relief. We hold that a previously deceived consumer may have standing to seek an
14          injunction against false advertising or labeling, even though the consumer now knows
            or suspects that the advertising was false at the time of the original purchase, because
15          the consumer may suffer an “actual and imminent, not conjectural or hypothetical”
            threat of future harm.
16
     Davidson, 873 F.3d 1115. Plaintiffs have met the standard laid out in Davidson, alleging that
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     “Plaintiffs and Class Members are likely to continue to be damaged by Defendant’s deceptive trade
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     practices, because Defendant continues to disseminate misleading information on the Products’
19
     packaging.” TAC, at ¶ 100.
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            F.       Plaintiffs Have Pled Colorable Claims
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            Defendant’s final argument mischaracterizes the Court’s prior ruling, claiming that
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     “Plaintiffs continue to advance a legal theory that this Court has already squarely rejected.” Motion
23
     at p. 13. As Your Honor knows, however, the Court concluded in its original order that “the three
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     statements on both Boost Glucose Control and Boost Glucose Control High Protein collectively
25
     constitute a ‘health claim’ that is not preempted.” Order Granting Def.’s MTD (ECF No. 27) at 10.
26
     Furthermore, Your Honor gave Plaintiffs leave to “amend [their Complaint] to address the
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     deficiencies noted in this order.” Id. at 16. Plaintiffs thus filed their Third Amended Complaint on
28
     August 2, 2022, ECF No. 29, addressing the deficiencies outlined in Your Honor’s July 5 Order.
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1    Plaintiffs’ surviving claims are well-pled and should move forward.

2    V.        CONCLUSION
3              For the foregoing reasons, Plaintiffs respectfully request that this Court deny Defendant’s

4    Motion to Dismiss Plaintiffs’ Third Amended Complaint in its entirety. If the Court finds any of

5    Plaintiffs’ allegations insufficient, they would request leave to amend the Complaint to address such

6    issues.

7    Dated: September 26, 2022                      Respectfully submitted,
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